




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-10-00452-CV

No. 10-10-00453-CV

No. 10-10-00454-CV

&nbsp;

In
the Interest of

L.A.M.,
Jr., J.L.L., W.H., J.M.L. and A.A.L., Children,

&nbsp;

&nbsp;

&nbsp;



From the 12th District
Court

Madison County, Texas

Trial Court Nos. 09-11990-012-09,
09-11991-278-09 and 09-11992-012-09

&nbsp;



ORDER



&nbsp;

Maurice L. is the biological father of
J.M.L. and was also the permanent managing conservator of L.A.M., Jr., J.L.L.,
W.H., and A.A.L.&nbsp; The Texas Department of Family and Protective Services filed
three suits for protection of the children, and the cases were tried to one
jury.&nbsp; Based upon the jury verdict, the trial court entered a final order
terminating Maurice’s parental rights to J.M.L. and naming the Department as
permanent managing conservator of all the children.[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Maurice filed a motion for
new trial and a statement of points or issues to be presented on appeal as
required by Tex. Fam. Code Ann. §
263.405 (b) (West 2008).&nbsp; The trial court held a hearing and found each point
to be frivolous.&nbsp; The trial court did not allow Maurice a copy of the complete
reporter’s record.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In each cause number,
Maurice argues in his third issue that he is entitled to a full record on
appeal based upon his claim of ineffective assistance of counsel.&nbsp; Maurice
raised his ineffective assistance claim in his statement of points on appeal.&nbsp;
An indigent parent is entitled to a full record on appeal when raising an
ineffective assistance of counsel claim, even when the claim is not raised in
the statement of appellate points.&nbsp; See In re B.G., 317 S.W.3d 250 (Tex.
2010).&nbsp; A claim of ineffective assistance cannot be adequately presented in the
absence of a full record and an indigent parent would be denied due process
without a full reporter’s record.&nbsp; See In re B.G., 317 S.W.3d at
256-7.&nbsp; We sustain Maurice’s third issue on appeal.&nbsp; We need not address
Maurice’s remaining issues on appeal.&nbsp; Tex.
R. App. P. 47.1.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We order the court reporter
in this case to prepare a full record from the trial, and we further order the
parties to proceed to file new briefs once the record is filed.

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Before
Chief Justice Gray, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Davis, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Scoggins

Order
issued and filed July 6, 2011

Publish








&nbsp;









[1] Maurice is the only party to this
appeal.







